AO 440(Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                               for the

                                                      District of New Hampshire


             TRAVIS JARED PARK. Pro Se




                           Plainiifffs)
                               V.                                        Civil Action No.

     SCOTT BAILEY (in his official capacity),
 CHRISTOPHER WAGNER (in his official capacity),
    STEVEN RUSSO (in his official capacity)

                          Defendant(s)


                                                  SUMMONS IN A CIVIL ACTION


To:(Defendant's name and address) SCOTT BAILEY (in his Official capacity as Special Agent of the FBI)
                                          FEDERAL BUREAU OF INVESTIGATION
                                          201 MAPLE STREET
                                          CHELSEA, MA 02150




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12(a)(2) or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                          TRAVIS JARED PARK (Pro se)
                                          13918 E MISSISSIPPI AVE #152
                                          AURORA, CO 80012




       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT



Date:
                                                                                      Signature ofClerk or Deputy Clerk
AO 440(Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.


                                                          PROOF OF SERVICE
                    (This section should not befiled with the court unless required by Fed. R. Civ. P.4(I))

          This summons for (name ofindividual and title, ifany)
 was received by me on (date)

           □ 1 personally served the summons on the individual 2^. (place)
                                                                                on (date)                             ; or


           □ I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                              , and mailed a copy to the individual's last known address; or

           □ I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name oforganization)
                                                                                on (date)                             ; or


           □ I returned the summons unexecuted because                                                                              ; or

           O Other (specify):




           My fees are $                          for travel and $                   for services, for a total of $          o.OO


            declare under penalty of perjury that this information is true.



 Date:
                                                                                            Server's signature



                                                                                        Printed name and title




                                                                                            Server's address


 Additional information regarding attempted service, etc:
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                                                               for the

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      SCOTT BAILEY (in his official capacity),
  CHRISTOPHER WAGNER (in his official capacity),
     STEVEN RUSSO (in his official capacity)

                          Defendant(s)


                                                 SUMMONS IN A CIVIL ACTION


To:(Defendant's name and address) CHRISTOPHER WAGNER (in his official capacity as head of the State of New
                                  Hampshire Police)
                                          JAMES H. HAYES SAFETY BUILDING
                                          33 HAZEN DRIVE
                                          CONCORD, NH 03305




          A lawsuit has been filed against you.

         Within 21 days after service ofthis summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                          TRAVIS JARED PARK (Pro se)
                                          13918 E MISSISSIPPI AVE #152
                                          AURORA,CO 80012




          If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                               on (date)                             ; or


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 CHRISTOPHER WAGNER (in his official capacity),
        STEVEN RUSSO (in his official capacity)

                         Defendant(s)


                                                 SUMMONS IN A CIVIL ACTION

To:(Defendant's name and address) STEVEN RUSSO (in his official capacity as head of the City of Keene Police)
                                         KEENE POLICE DEPARTMENT
                                         400 MARLBORO STREET
                                         KEENE, NH 03431




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
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the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                         TRAVIS JARED PARK (Pro se)
                                         13918 E MISSISSIPPI AVE #152
                                         AURORA,CO 80012




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          O Other (specify')-




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